Case 16-24483-A.]C Doc 3 Filed 10/27/16 Page 1 of 3

Fill in this information to identi the case:
Debtor name Alianza Trinity Development Group LLC
United States Bankruptcy Court for the: SOUTHERN DlSTRlCT OF l:l Check if this is an

 

FLORlDA

 

Case number (if known): amended filing

 

 

 

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not insiders 12/15

 

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 

 

 

Name of creditor and Name, telephone number Nature of claim indicate if claim Amount of claim

complete mailing address, and email address of (for example, trade ls contingent, if the claim is fully unsecured, fill in only unsecured claim amount. |f

including zip code creditor contact debts, bank loans, unliquidated, or claim is partially secured. fill in total claim amount and deduction for
professional services, disputed value of collateral or setoff to calculate unsecured claim.
and government Total claiml if Deductlon for value Unsecured claim
COnlfaCiS) partially secured of collateral or setoff

Albert Zayan $70,000.00

1040 Biscayne
Boulevard, Suite

 

 

 

2408

Miami, FL 33132

Alianza Financial $380,000.00
Services

999 Brickell Avenue,

#PH1102

Miami, FL 33131

Alianza Trinity $400,000.00
Ho|dings

999 Brickell Avenue,

PH1102

Miami, FL 33131

Amereveerglades, $70,000.00
LLC

1040 Biscayne
Boulevard, Suite
2408

Miami, FL 33132
Anita Robeson $330,000.00
136 Ebbtide Drive
North Palm Beach,
FL

Bright's Creek $45,000.00
Condo POA

132 W. Cambridge
Avenue
Greenwood, SC
29649

Brights Creek POA $200,000.00
132 W. Cambridge
Avenue
Greenwood, SC
29649

 

 

 

 

 

 

 

 

 

 

 

 

Official form 204 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims page 1

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Debtor
Name

Case 16-24483-A.]C Doc 3 Filed 10/27/16 Page 2 of 3

Alianza Trinity Development Group LLC

Case number (ifknown)

 

 

Name of creditor and
complete mailing address,
including zlp code

Name, telephone number
and email address of
creditor contact

Nature of claim

(for exampie, trade
debts. bank loans,
professional services,

indicate if claim
is contingent,
unliquidated, or
disputed

Amount of claim

if the claim is fully unsecured, fill in only unsecured claim amount if
claim is partially secured, fill in total claim amount and deduction for
value of collateral or setoff to calculate unsecured ciaim.

 

Totai claim, if
partially secured

Deduction for value
of collateral or setoff

Unsecured claim

 

Brights Creek Realty
Advisors

2222 Pa|mer Road
Mi|l Spring, NC
28756

$228,000.00

 

E|ness Swenson
Graham A&E
500 Washington
Avenue South
Suite 1080
Minneapoiis, MN
55415

$200,000.00

 

Ferikes & Bleynat,
PLLC

48 Patton Avenue,
3rd Floor
Asheville, NC 28801

$100,000.00

 

Juvach Corp.
1040 Biscayne
Boulevard, Suite
2408

Miami, FL 33132

$90,000.00

 

Keenan Suggs

55 East
Camperdown Way
Suite 350
Greenviile, SC 29601

$45,000.00

 

Lantern Business
Solutions

300 Crescent Court,
Suite 1000

Dallas, TX 75201

Real estate

Disputed

$11,800,000.00

$0.00

$11,800,000.00

 

Maria iVlontan
1040 Biscayne
Boulevard, Suite
2408

Miami, FL 33132

$70,000.00

 

Mr. Teillaud
1040 Biscayne
Boulevard, Suite
2408

Miami, FL 33132

$600,000.00

 

Oak City
Contracting LLC
621 Hutton Street
Raleigh, NC 27606

$100,000.00

 

Poik County

c/o The Kania Law
Firm

600A Centre Park
Drive

Asheville, NC 28805

 

 

 

 

 

 

$300,000.00

 

 

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Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims

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Best Case Bankruptcy

 

 

Debtor
Name

Case 16-24483-A.]C Doc 3 Filed 10/27/16 Page 3 of 3

Alianza Trinity Deve|opment Group LLC

Case number (ifknown)

 

 

Name of creditor and
complete mailing address,
including zip code

Name, telephone number
and email address of
creditor contact

Nature of claim

(for exampie, trade
debts, bank loans,
professional services,

indicate if claim
is contingent,
unliquidated, or
disputed

Amount of claim

if the claim is fully unsecured, nil in only unsecured claim amount if
claim is partially secured, till ln total claim amount and deduction for
value of collateral or setoff to calculate unsecured claim.

 

Totai claim, if
partially secured

Deduction for value
of collateral or setoff

Unsecured claim

 

SFTG Associates
218 SE 14th Street,
Suite T8202
Miami, FL 33131

$188,000.00

 

Swift Corporation
3505 Siiverside
Road, Suite 200
Wii|mington, DE

$75,000.00

 

Van Winke Law Firm
11 North Market
Street

P.O. Box 7376
Asheville, NC
28802-7376

 

 

 

 

 

 

$75,000.00

 

 

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Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims

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